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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA


  SONY MUSIC ENTERTAINMENT, et al.,


                  Plaintiffs,
                                                         Case No. 1:18-cv-00950-LO-JFA
         v.

  COX COMMUNICATIONS, INC. and
  COXCOM, LLC.


                  Defendants.



 COX’S MOTION IN LIMINE NO. 8 TO EXCLUDE CERTAIN EVIDENCE RELATING
            TO PEER-TO-PEER TRAFFIC ON COX’S NETWORK


        Defendants Cox Communications, Inc. and CoxCom, LLC (“Cox”) respectfully move

 this Court to exclude certain evidence relating to peer-to-peer traffic on Cox’s network. Cox

 states the specific grounds for this motion in its accompanying Memorandum of Law in Support

 of Its Motion in Limine No. 8 to Exclude Certain Evidence Relating to Peer-To-Peer Traffic on

 Cox’s Network.

 Dated: October 19, 2019                             Respectfully submitted,

                                                     /s/ Thomas M. Buchanan
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 19, 2019, a copy of the foregoing was served by email to
 Jeffrey Gould at jeff@oandzlaw.com, by party agreement, due to technical issues with the ECF
 system.



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